Case 8:18-CV-02249-TDC D oooooo t 1 Filed 07/24/18 Page 1 of 8

IN 'I`HE UNITE]) STATES DISTR]CT COURT
F()R THE DISTRICT OF MARYLAND

LIAS CARTER, Jl'. ""

11337 Melclare I)rive.
Beltsvillc, MI) 20707

Plaintiff Civil Action No.

 

v. =“'

MONTGOMERY COUNTY
MARYLAND

101 Monroc Street, Z“d Floor
Rockville, Maryland 20850

Serve 0n: "'=
Isiah Leggett

Couuty Executive
Arld

County Attorncy

101 Monroe Street
Rockville, MD 20351}

I)ct`cndant ""‘

:¢c'.l:'k:§::k

g_QMPLAlNT

 

(])isability Discrimination in Employment)

 

COMES NOW, Plaintiff_, Lias Carter,J Jr., by and through the undersigned
counsel,, Williarn Payne, Esquire and sues the defendant as follows:
NATURE OF ACTION
l. This is an action under the Americans With Disabilities Act (ADA) to correct
unlawful employment practices based on disability and to provide appropriate relief to
Lias Carter,Ir Jr. Who Was adversely affected by such practices Plaintiff, a fenner
employee of Defendant, Montgornery County Departrnent of Transportation

(“Montgomery DOT"`“),, alleges that Montgoniery DOT failed to reasonably accommodate

 

Case 8:18-CV-02249-TDC D oooooo t 1 Filed 07/24/18 Page 2 of 8

 

plaintiffs physical disability and Wrongfully terminated plainti:Ts employment as a Ride
On bus driver based on plaintiff s disability.

JURISDICTION AND VENUE

 

2. Jurisdiction of this Court is invoked pursuant to Section lO?(a) of Title l of the
Americans vvith Disabilities Act of 1990, as amended (hereafter “ADA""),, 42 U.S.C. §
12117 vvhich incorporates by reference §706 of Title VII of the Civil Rjghts Act of 1964,
as amendedali 42 Ui.S.C1 § ZGO*OOe-S.

3. Venue is proper in this Court under 28 U.S.C. § l39l(b) in that plaintiffs claims
and the employment practices alleged to be unlawful Were committed Within the
jurisdiction of the Uriited States District Court for the District of Maryland.

PARTIES

 

Plaintiff, Lias Carter, is an adult citizen of the United States of America and a
resident of the State of l\/larylaodIF At all times relevant herein, he vvas an employee
and/or cir-employee of the Montgomery County, Maryland Departrnent of

Transportation. Plaintiff vvas employed by defendant as a bus operator in the defendant“s

bus systh called are “R_iae_oa.=“

4. At all times relevant herein, Defendant,, Montgomery County, Maryland is a

political subdivision of the State of Maryland. Said defendant employs over 15 people in

the State of Maryland‘s l\/lontgomery County Department of Transportation (DOT).
EXHAUSTION OF ADMINISTRATIVE REMEDIES

5. Plaintiff has exhausted his administrative remedies He filed timely

administrative charges of discrimination against the Montgomery County Department of

Case 8:18-CV-02249-TDC D oooooo t 1 Filed 07/24/18 Page 3 of 8

Transportation on or about March 14, 2013 with the U.S. Equal Employment Opportunity
Commission (“EEOC”) for investigation

6. On April 25j 2013, the EEOC issued a right to sue letter to Plaintiff Said letter is
attached hereto and marked Eshibit l.

STATEMENT OF CLAIMS

 

?'. ln April of 2001 Plaintiff Was hired by defendant as a bus operator. Prior to the

end of the 90 day probationary period Plaintiff was terminated by Defendant because he

"w'\.

was allegedly late on three occasions Ultimately, the Defendant rehired Plainti on

 

 

 

 

November 04, 2004 because it Was discovered that Defendant had mistakenly charged
Plaintiff for three late occasions vrhen he had only been late on one occasion

8. In late April 2016 Plaintifff Within the scope of his employment, vvas operating

the bus vrhen he attempted to open the front door latch on the bus Suddenly he felt

 

tremendous pain in his left hand that prevented him from operating the bus Plaintiff
sought medical treatment and filed a vrorker’s compensation claim because he Was unable
to perform his duties as bus operatorl Plaintiff’s vvorkeris compensation claim based on
trigger finger was initially denied but later accepted. Plaintiff’s Work related injury vvas

diagnosed as trigger finger on his left hand. The said diagnosis vvas expanded to include

-'\

 

 

 

carpel tunnel syndrome of the left hand. Plainti `modified his yvorker’s compensation

 

claim to include the carpel tunnel syndrome of the right hand. That claim has been

denied. Surgery was performed on August 03, 2016 relative to the trigger finger of the

left hand.

9. Six days later, on August 09, 2016 Plaintiff began experiencing pain in his right

hand. Plaintiff Was diagnosed as suffering from trigger finger of the right hand. Plaintiff

Case 8:18-CV-02249-TDC Docu`ment 1 Filed 07/24/18 Page 4 of 8

filed a worker”s compensation claim because of the pain he was experiencing in his right
hand. That claim was accepted. With respect to Plaintiff s right hand injury of trigger

finger,, the diagnosis of Plaintiff s right hand injury was also expanded to include carpel

 

turmel syndrome of the right hand. Ultimately, Plaintifi"s work related injury was
diagnosed as trigger finger of both hands and carpel tunnel syndrome of both hands
Defendant has accepted worker`“`s compensation claims of trigger finer of both hands and

denied the worker’s compensation claims of carpel tunnel syndrome of both hands

10. Due to Plaintiff s work related injuries he could not work as a bus driver. Due to
lack of income he applied for and was accepted into the sick leave bank, a program which
allows employees to use paid sick leave donated by co-workers to assist employees
injured on the job. Plaintiff received paid sick leave from the sick leave bank from
August 09, 2016 through July 08,, 2017. Once the paid sick leave through the sick leave
bank expired, Plaintiff still could not work as a bus driver due to his work related injuries
l-le had no money coming in to pay his bills Plaintiff remained temporarily totally

disabled due to the job related injuries Consequently,, Plaintiff filed for paid disability

leave with the Defendant.

11. Even though Plaintiff s doctor has designated his medical and physical condition

as temporarily totally disabled due to his work related injuries, on August 10, 2017, Dan

Hibbert, Chief of the DOT denied Plaintiff’s request for paid disability leave and instead

 

gave Plaintiff the employment classification of leave without pay. As a result of

 

Defendant"s decision denying disability leave, Plainti:f became permiless and could not

pay his bills Plaintiff had no money to pay the rent for his home and was evicted from

 

his apartment Plaintiff could not afford to repair his automobile and lost possession of

4

Case 8:18-CV-02249-TDC D oooooo t 1 Filed 07/24/18 Page 5 of 8

 

the car. Plaintifi"s inability to pay his bills due to his disability made his credit rating

unworthy. Plaintiff literally became homeless

COUNT ONE
Unlawful employment discrimination based on disability
12. Plaintiff adopts and incorporates by referencerf the allegations contained in

Paragraphs 1 through 11 of this Complaint as if fully re-allcged herein

13. Plaintiff was denied disability leave by the Defendant even though Article 17 of
the collective bargaining agreement between Defendant and the union that Plaintiff
belongs to states: “An employee who is temporarily disabled in the line of duty and
unable to perform normal duties or an alternate duty assignment must be paid full salary
continuation in the form of disability leave for a maximum period of 18 months of the

temporary disability provided that the employee participate in the cost-savings programs

administered by the Montgomery County of Risk Management."’

14. That Plaintiff participated in the cost-savings program After Defendant denied
Plaintist request for disability leave, as stated earlier, he was placed on leave without

pay nom August 10,, 2017 through December 11, 2017.

15. To qualify for and perform the job of bus operator:, an employee must, inter alia,
be physically able to walk, stand, and lin weight. Plaintiff’s employment with the

Defendant evolved to tenured merit system status as a bus operator. Contemporaneously

Case 8:18-CV-02249-TDC D oooooo t 1 Filed 07/24/18 Page 6 of 8

with his tenured merit system status Plaintiff became a member of MCGEO the local
union representing Montgomery County bus operators

16. Plaintist duties as a bus operator required him, inter alia, to use both his hands to
operate County Ride On transit buses on the public streets of Montgomery County?
Maryland following bus routes that are run out of several Ride On bus depots owned and
operated by the Defendant. Additional duties included driving the said buses and picking

up and discharging passengers at designated bus stops assisting disabled passengers to

 

board and discharge from the bus, lifting and carrying packages for disabled passengers
and others in need.

17. ln late April 2016 while on duty and driving a Ride On bus plaintiff sustained
serious on- the- job injuries (“lnjuries”), when he sustained an injury to his left hand.

The said injury was medically diagnosed as trigger finger and carpel tunnel syndrome.
On August 09.} 2017 Plaintiff suffered the same injury to his right hand. Plaintiff has
received, continues to receive and will require in the future, substantial medical treatment

and other related services Moreover,, plaintiff has and continues to suffer significant

pain both physical and emotional as a result of said injuries

13. Since the date of plaintiffs work related injuries, he never returned to full duty

status as a bus operator or in any other employment category for defendantl

 

 

 

19. Starting in August 2017, Plainti "`requested light duty assignments Despite

 

numerous requests for light duty assignments Defendant has refused to provide Plaintiff
with a reasonable accommodation and place him on light duty. plaintiff’ s injurious

condition improved sufficiently to allow plaintiff to work in a light duty capacity for

defendant

Case 8:18-CV-02249-TDC D oooooo t 1 Filed 07/24/18 Page 7 of 8

20. However, on December ll, 2017, citing Plaintiff s inability to perform his job, as
a bus operator, Defendant terminated plaintiff s employment

21. That plaintiff requested a reasonable accommodation from defendant so that he
could eventually return to his job as bus operator or in the alternative, receive
employment with the defendant in a different j ob. Moreover,,r Plaintiff requested paid
disability leave pursuant to the collective bargaining agreement Defendant had with
Plaintist union so that Plaintiff could maintain his employment with Defendant while he
continued to receive medical treatment for his work related injuries Defendant denied
that request despite Plaintiff’ s eligibility.

22. While defendant will claim that it reasonably accommodated plaintiff, said

accommodation was a sham because defendant did not reasonably accommodate

 

plaintiff Title l of the ADA requires an employer to provide reasonable accommodation

to qualified individuals with disabilities who are employees or applicants for

employment, unless to do so would cause undue hardship. Plaintiff requested

 

accommodation that would not cause undue hardship. Alternatively, Plainti:f requested

paid disability leave. Defendant denied that request despite Plaintiff being eligible for

leave.

23. On December ll, 2018 Defendant terminated plaintiff s employment without ever
providing him a reasonable accommodation or granting him paid disability leave. Said

termination has severely injured Plaintiff causing great loss of income, loss of health

 

insurance_.J and forced Plaintiff`to withdraw from his 401A plan 850,000 ($12,,000 of

 

Case 8:18-CV-02249-TDC D oooooo t 1 Filed 07/24/18 Page 8 of 8

which he had to pay in taxes) in order to pay for a place to live and to get another car for
transportation inter alia.
19. The unlawful employment practices complained of by Plaintiff were intentional
and were done with malicious and with reckless indifference to the federally protected
rights of Plaintiff.
WHEREFORE, Plaintiff respectfully requests that this Court:

A. Order Defendant to pay Plaintiff back pay and nont pay;,
Reinstate Plaintiff’ s employment status with the Defendant;,
Compensatory Damages;

. Punitive Damages;.

w w c w

Award Plaintiff attorney’s fees and costs in prosecuting this action;

iii

Such further relief justice and the nature of this cause requires

RESPECTFULLY SUBMITTED
PAYNE & ASSOCIATES

’?,t.»-

 

f d "}
llliam Payne, Esq.

Bar No. 06428

419 7“‘ Street, N.W.
Suite 405

Washington, DC 20004
(202) 370~0201
payneesquire@aol.com
Attorney for Plaintiff

 

.TURY DEMAND

Plaintifi`demands a trial by jury of all iss§es;herein so trj:Sb-le.

William Payne, Esquire

 

 

